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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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UNITED STATES OF AMERICA : lécr838~-02 (DLC)
-V- : ORDER

LAZARO MANUEL MARTINEZ-ALONZO, : USBC SONY

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DENISE COTE, District Judge: ATE FILED: 1 5/220 |

 

 

 

 

The defendant having informed the Court that he prefers
that the November 13, 2020 conference on the violation of
supervised release in this matter occur via a videoconference
proceeding, as opposed to an in person proceeding, it is hereby

ORDERED that the conference shall proceed as scheduled on
November 13, 2020 at 3 p.m. via the Skype for Business
videoconference, if the Skype for Business platform is
reasonably available. To access the conference, paste the
following link into your browser:
https: //meet.lyne.com/fedcourts-nysd/anthony_ sampson/7WUM633F.

To use this link, you may need to download software to use
Skype’s videoconferencing features.! Participants are directed
to test their videoconference setup in advance of the conference

-- including their ability to access the link above. Defense

 

1 See Microsoft, Install Skype for Business (last visited Apr.
29, 2020), https://support.office.com/en-us/article/install-
skype-for-business—8a0d4da8-9d58-44£9-9759-5c8£340cb3fb.

 

 

 
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counsel shall assist the defendant in testing his
videoconference capability so that the defendant can participate
by videoconference if that is feasible.

Users who do not have an Office 365 account may use the
“Join as Guest” option. When you successfully access the link,
you will be placed in a “virtual lobby” until the conference
begins. Participants should also ensure that their webcam,
microphone, and headset or speakers are all properly configured
to work with Skype for Business. For further instructions
concerning Skype for Business and general guidelines for
participation in video and teleconferencing, visit https://
nysd.uscourts.gov/covid-19-coronavirus.

If you intend to join the conference from an Apple device,
you should ensure that you are running a version of Skype for
Business that was published on or after April 28, 2020.2 Users
running earlier versions have encountered an issue in which
Skype for Business does not receive any inputs from the
computer’s microphone, and they cannot be heard by other
participants.

IT IS FURTHER ORDERED that members of the press, public, or

counsel who are unable to successfully access Skype for

 

2 See, e.g., Microsoft, Skype for Business on Mac (last visited
May 5, 2020), https://www.microsoft.com/en-us/download/
details.aspx?id=54108.

 

 
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Business, may access the conference audio using the following

credentials:
Call-in number: 4+19179332166
Conference ID: 223290302

IT IS FURTHER ORDERED that by November 10, 2020, defense
counsel shall file a letter informing the Court whether counsel
and the defendant have successfully tested Skype for Business.
Tf the defendant and counsel are unable to successfully test
Skype for Business, an Order will issue informing the parties
whether the proceeding shall be rescheduled to occur in person.

Dated: New York, New York
November 5, 2020

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